
(2008)
In re: CHOCOLATE CONFECTIONARY ANTITRUST LITIGATION.
MDL No. 1935.
United States Judicial Panel on Multidistrict Litigation.
April 10, 2008.

ORDER REASSIGNING LITIGATION
JOHN G. HEYBURN II, Chairman.
Due to the recusal of the Honorable Yvette Kane, the actions in the above litigation have been reassigned to the Honorable Christopher C. Conner in the Middle District of Pennsylvania.
IT IS THEREFORE ORDERED that this litigation is reassigned to the Honorable Christopher C. Conner for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.
